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✎PROB 35                    Report and Order Terminating Probation/Supervised Release
(Rev. 5/01)                              Prior to Original Expiration Date



                                     UNITED STATES DISTRICT COURT
                                                            FOR THE

                                                 Middle District of Alabama


               UNITED STATES OF AMERICA




                                                                 
                                v.                                     Crim. No. 2:05cr119-WKW-01

                 DON EUGENE SIEGELMAN


          On           August 8, 2017            the above named was placed on supervised release for a period of

   3      years. The supervised releasee has complied with the rules and regulations of supervised release and is no

longer in need of supervision. It is accordingly recommended that the supervised releasee be discharged from

supervision.

                                                                         Respectfully submitted,




                                                                                     /s/ David Armstrong
                                                                                 Senior United States Probation Officer
                                                                                     Northern District of Alabama



                                                      ORDER OF COURT
          Pursuant to the above report, it is ordered that the supervised releasee be discharged from supervision

and that the proceedings in the case be terminated.

          Dated this                    day of                                         , 20           .




                                                                         UNITED STATES DISTRICT JUDGE
